                                       United States Bankruptcy Court
                                            District of Arizona
In re:                                                                                 Case No. 19-11453-MCW
JEFFREY DOUGLAS HUNT                                                                   Chapter 7
MINDY JANE HUNT
         Debtors
                                         CERTIFICATE OF NOTICE
District/off: 0970-2            User: giffords              Page 1 of 3                   Date Rcvd: Jan 07, 2020
                                Form ID: 318                Total Noticed: 82


Notice by first   class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on
Jan 09, 2020.
db/jdb          JEFFREY DOUGLAS HUNT,     MINDY JANE HUNT,    1757 EAST HALE STREET,     MESA, AZ 85203-3914
15764486        ACT,   Dept,    115645013-DN01 21700 Oxnard St Ste 1400,      Woodland Hills, CA 91302-3636
15752914        AMbetter from Arizona Complete Health,      PO Box 25408,    Little Rock, AR 72221-5408
15752913        Alcoa Billing Center,     3429 Regal Dr,    Alcoa, TN 37701-3265
15752915        Ambetter from Health Net,     1850 W Rio Salado Pkwy Ste 201,     Tempe, AZ 85281-5713
15768349        AmeriHome Mortgage Company, LLC,      Leonard McDonald,    Seventh Floor Camelback Esplanade II,
                 2525 E. Camelback Rd, Phoenix, AZ 85016
15764490        Amerihome Mortgag,     PO Box 77404,    Trenton, NJ 08628-6404
15764491        Amerihome Mortgage,     PO Box 77423,    Trenton, NJ 08628-7423
15752916        Amerihome Mortgage,     1 Baxter Way Ste 300,    Thousand Oaks, CA 91362-3888
15764493        Amerihome Mortgage,     ATTN: Foreclosure,    425 Phillips Blvd,     Trenton, NJ 08618-1430
15752917        Amerihome Mtg Co, LLC,     21300 Victory Blvd,    Woodland Hills, CA 91367-2525
15752919        Arizona Orthopedic Surgical Specialists,      2905 W Warner Rd Ste 19,     Chandler, AZ 85224-1674
15764499        Banner Gateway,    1900 N Higley Rd,     Gilbert, AZ 85234-1604
15752921        Banner Gateway Medical Center,     1900 N Higley Rd,     Gilbert, AZ 85234-1604
15752922        Banner Health,    PO Box 52616,    Phoenix, AZ 85072-2616
15764502        Banner Health MD Anderson,     2946 E Banner Gateway Dr,     Gilbert, AZ 85234-2165
15764503        Banner Urgent Care,     407 N Lindsay Rd Ste 103,     Mesa, AZ 85213-7712
15752923        Banner Urgent Care Services,     PO Box 2916,    Phoenix, AZ 85062-2916
15764505       +Breg Inc,    Dept: 140418,    2885 Loker Ave E,    Carlsbad, CA 92010-6626
15752925        Breg, Inc,    PO Box 844628,    Dallas, TX 75284-4628
15752924        Breg, Inc,    2885 Loker Ave E,    Carlsbad, CA 92010-6626
15752926        Brinks Home Security,     PO Box 814530,    Dallas, TX 75381-4530
15752927        Brinks Home Security,     1990 Wittington Pl,    Dallas, TX 75234-1904
15752928        Bureau of Med Econcs,     326 E Coronado Rd,    Phoenix, AZ 85004-1524
15752929        Bureau of Medical Economics,     PO Box 20247,    Phoenix, AZ 85036-0247
15752930        Bureau of Medical Economics,     Attn: Bankruptcy,     PO Box 20247,    Phoenix, AZ 85036-0247
15859129       +City of Tempe - Municipal Courts,      Sonia Blain Esq., c/o Tempe City Attorne,
                 21 E Sixth Street #201,     Tempe, AZ 85281-3681
15752934       +EBIX,    1 Ebix Way,    Johns Creek, GA 30097-5801
15764518        EBIX,    PO Box 909,    Duluth, GA 30096-0017
15764517        EBIX,    PO Box 2638,    Loves Park, IL 61132-2638
15752935        Ebix Health Administration Exchange,      PO Box 21456,    Eagan, MN 55121-0456
15764521        Emergency Phys Southwest,     PO Box 740023,    Cincinnati, OH 45274-0023
15752936       +Gateway Anesthesia and Pain Associates,      4838 E Baseline Rd Suite 108,     Mesa, AZ 85206-4672
15764522        Gateway Anesthesia and Pain Associates,      PO Box 3289,    Gilbert, AZ 85299-3289
15764523        Gateway Anesthesia and Pain Associates,      37100 N Gantzel Rd Ste 113,
                 San Tan Valley, AZ 85140-7351
15752937       +Gateway Practice Solutions,     4838 E Baseline Rd,     Mesa, AZ 85206-4672
15764525        Genesis FS Card Services,     PO Box 23013,    Columbus, GA 31902-3013
15752939        HRRG,    PO Box 459080,    City of Sunrise, FL 33345-9080
15764527       +HRRG,    PO Box 5406,    Cincinnati, OH 45273-0001
15752940        IHC Health Solutions,     PO Box 21456,    Eagan, MN 55121-0456
15764529       #IHC Health Solutions,     3925 E State St Ste 100,     Rockford, IL 61108-2055
15752942        LDC Collection Systems,     PO Box 7684,    San Francisco, CA 94120-7684
15764533        LDC Collection Systems,     PO Box 52030,    Phoenix, AZ 85072-2030
15752944        Members Heritage Cu In,     Park Place Main,    440 Park Pl Ofc,     Lexington, KY 40511-1829
15752945       #Mesa Endodontics,     2855 E Brown Rd Ste 15,    Mesa, AZ 85213-4216
15764539        Pathology Specialists Of Arizona,      PO Box 42210,    Phoenix, AZ 85080-2210
15752946        Pathology Specialists of Az,     1255 W Washington St,     Tempe, AZ 85281-1210
15764541        ProPath,    Dept 41074,    PO Box 660811,    Dallas, TX 75266-0811
15752948       #Psychiatry of Scottsdale,     8800 E Raintree Dr Ste 155,     Scottsdale, AZ 85260-3960
15752949        Randall Hardison, M.D.,     2905 W Warner Rd Ste 19,     Chandler, AZ 85224-1674
15764547        Revsolve,    PO Box 310,    Scottsdale, AZ 85252-0310
15752953        SMI Imaging LLC,     6900 E Camelback Rd Ste 700,     Scottsdale, AZ 85251-2400
15764551        SMO Imaging,    PO Box 204165,    Dallas, TX 75320-4165
15752955        STAT CLINIX,    15223 N 87th St Ste 110,     Scottsdale, AZ 85260-2640
15764549        Sandy and Sons Auto,     2830 E McKellips Rd,    Mesa, AZ 85213-3127
15764552       +Southwest Diagnostic Imaging,     PO Box 207758,     Dallas, TX 75320-7758
15764556       +Synergy Infectious Disease,     1900 N Higley Rd,     Gilbert, AZ 85234-1604
15752957        Synergy Infectious Disease,     2151 E Pecos Rd Ste 1,     Chandler, AZ 85225-6098
15764557        Synergy Infectious Disease,     PO Box 21180,    Mesa, AZ 85277-1180
15752959       +Tiffany & Bosco PA,     2525 E Camelback Rd Ste 700,     Phoenix, AZ 85016-9240
15752960        Valley Collection Service,     PO Box 10130,    Glendale, AZ 85318-0130

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
smg             EDI: AZDEPREV.COM Jan 08 2020 06:38:00       AZ DEPARTMENT OF REVENUE,   BANKRUPTCY & LITIGATION,
                 1600 W. MONROE, 7TH FL.,    PHOENIX, AZ 85007-2650
15752912        E-mail/Text: bankruptcy-Letters@accountcontrolholdings.com Jan 08 2020 02:11:18
                 Account Control Technology,    PO Box 9025,    Renton, WA 98057-9025
15752918        EDI: AZDEPREV.COM Jan 08 2020 06:38:00       Arizona Department of Revenue,
                 2005 N Central Ave # 100,    Phoenix, AZ 85004-1546

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                               Form ID: 318                 Total Noticed: 82


Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center
(continued)
15752920        E-mail/Text: PBOSupportTeam@bannerhealth.com Jan 08 2020 02:11:12
                 Banner Cancer Center Specialis,    1441 N 12th St,    Phoenix, AZ 85006-2837
15764498        E-mail/Text: PBOSupportTeam@bannerhealth.com Jan 08 2020 02:11:12
                 Banner Cancer Center Specialists,    1441 N 12th St,    Phoenix, AZ 85006-2837
15752931        E-mail/Text: correspondence@revsolve.com Jan 08 2020 02:11:32       Collection Service Bur,
                 CSB Systems/Attn:Bankruptcy,    PO Box 310,    Scottsdale, AZ 85252-0310
15752932        E-mail/Text: CSIBKR@CREDITSYSTEMSINTL.COM Jan 08 2020 02:11:13
                 Credit Systems International, Inc,    Attn: Bankruptcy,    PO Box 1088,
                 Arlington, TX 76004-1088
15752933        E-mail/Text: CSIBKR@CREDITSYSTEMSINTL.COM Jan 08 2020 02:11:13        Credit Systems Intl In,
                 1277 Country Club Ln,    Fort Worth, TX 76112-2304
15764516       +E-mail/Text: East_Mesa@mcjc.maricopa.gov Jan 08 2020 02:11:09       East Mesa Justice Court,
                 4811 E Julep St Ste 128,    Mesa, AZ 85205-3318
15752938        EDI: PHINGENESIS Jan 08 2020 06:38:00       Genesis FS Card Services,    PO Box 4477,
                 Beaverton, OR 97076-4401
15752941        EDI: IRS.COM Jan 08 2020 06:38:00      Internal Revenue Service,    PO Box 7346,
                 Philadelphia, PA 19101-7346
15764534        EDI: MID8.COM Jan 08 2020 06:38:00       MCM,   2365 Northside Dr # 300,
                 San Diego, CA 92108-2709
15764535        EDI: MID8.COM Jan 08 2020 06:38:00       MCM Midland Credit Management,    PO Box 60578,
                 Los Angeles, CA 90060-0578
15752943        EDI: MID8.COM Jan 08 2020 06:38:00       MCM Midland Credit Management,    PO Box 939069,
                 San Diego, CA 92193-9069
15752947        E-mail/Text: stacy.gloria@propath.com Jan 08 2020 02:10:03       Propath Services LLC,
                 1355 River Bend Dr,    Dallas, TX 75247-4915
15752950        E-mail/PDF: resurgentbknotifications@resurgent.com Jan 08 2020 02:19:01        Resurgent,
                 Attn: Bankruptcy,   PO Box 10497,    Greenville, SC 29603-0497
15752951        E-mail/PDF: resurgentbknotifications@resurgent.com Jan 08 2020 02:18:03
                 Resurgent Capital Services,    Attn: Bankruptcy,    PO Box 10497,    Greenville, SC 29603-0497
15752952        E-mail/Text: correspondence@revsolve.com Jan 08 2020 02:11:32       Revsolve Inc,
                 1395 N Hayden Rd,   Scottsdale, AZ 85257-3769
15752954        E-mail/Text: bankruptcy@sdil.net Jan 08 2020 02:11:15       Southwest Diagnostic Imaging,
                 2323 W Rose Garden Ln,    Phoenix, AZ 85027-2530
15752956       +E-mail/Text: BKRMailOPS@weltman.com Jan 08 2020 02:09:49       Sterling Jewelers, Inc.,
                 375 Ghent Rd,   Akron, OH 44333-4600
15752958       +E-mail/Text: cityattorney_administrator@tempe.gov Jan 08 2020 02:11:02
                 Tempe Municipal Court,    140 E 5th St,    Tempe, AZ 85281-3735
                                                                                               TOTAL: 21

            ***** BYPASSED RECIPIENTS (undeliverable, * duplicate) *****
cr               AmeriHome Mortgage Company, LLC
15764488*        AMbetter from Arizona Complete Health,     PO Box 25408,    Little Rock, AR 72221-5408
15764485*        Account Control Technology,     PO Box 9025,    Renton, WA 98057-9025
15764487*        Alcoa Billing Center,    3429 Regal Dr,    Alcoa, TN 37701-3265
15764489*        Ambetter from Health Net,    1850 W Rio Salado Pkwy Ste 201,      Tempe, AZ 85281-5713
15764492*        Amerihome Mortgage,    1 Baxter Way Ste 300,     Thousand Oaks, CA 91362-3888
15764494*        Amerihome Mtg Co, LLC,    21300 Victory Blvd,     Woodland Hills, CA 91367-2525
15764495*        Arizona Department of Revenue,     2005 N Central Ave # 100,     Phoenix, AZ 85004-1546
15764496*        Arizona Orthopedic Surgical Specialists,      2905 W Warner Rd Ste 19,    Chandler, AZ 85224-1674
15764497*        Banner Cancer Center Specialis,     1441 N 12th St,    Phoenix, AZ 85006-2837
15764500*        Banner Gateway Medical Center,     1900 N Higley Rd,    Gilbert, AZ 85234-1604
15764501*        Banner Health,    PO Box 52616,    Phoenix, AZ 85072-2616
15764504*        Banner Urgent Care Services,     PO Box 2916,    Phoenix, AZ 85062-2916
15764507*        Breg, Inc,   PO Box 844628,     Dallas, TX 75284-4628
15764506*        Breg, Inc,   2885 Loker Ave E,     Carlsbad, CA 92010-6626
15764509*        Brinks Home Security,    PO Box 814530,    Dallas, TX 75381-4530
15764508*        Brinks Home Security,    1990 Wittington Pl,     Dallas, TX 75234-1904
15764510*        Bureau of Med Econcs,    326 E Coronado Rd,     Phoenix, AZ 85004-1524
15764512*        Bureau of Medical Economics,     Attn: Bankruptcy,    PO Box 20247,    Phoenix, AZ 85036-0247
15764511*        Bureau of Medical Economics,     PO Box 20247,    Phoenix, AZ 85036-0247
15764513*        Collection Service Bur,    CSB Systems/Attn:Bankruptcy,     PO Box 310,
                  Scottsdale, AZ 85252-0310
15764514*        Credit Systems International, Inc,     Attn: Bankruptcy,    PO Box 1088,
                  Arlington, TX 76004-1088
15764515*        Credit Systems Intl In,    1277 Country Club Ln,     Fort Worth, TX 76112-2304
15764519*       +EBIX,   1 Ebix Way,    Johns Creek, GA 30097-5801
15764520*        Ebix Health Administration Exchange,     PO Box 21456,    Eagan, MN 55121-0456
15764524*       +Gateway Practice Solutions,     4838 E Baseline Rd,    Mesa, AZ 85206-4672
15764526*        Genesis FS Card Services,    PO Box 4477,     Beaverton, OR 97076-4401
15764528*        HRRG,   PO Box 459080,    City of Sunrise, FL 33345-9080
15764530*        IHC Health Solutions,    PO Box 21456,    Eagan, MN 55121-0456
15764531*        Internal Revenue Service,    PO Box 7346,     Philadelphia, PA 19101-7346
15764532*        LDC Collection Systems,    PO Box 7684,    San Francisco, CA 94120-7684
15764536*        MCM Midland Credit Management,     PO Box 939069,    San Diego, CA 92193-9069
15764537*        Members Heritage Cu In,    Park Place Main,     440 Park Pl Ofc,    Lexington, KY 40511-1829
15764538*        Mesa Endodontics,    2855 E Brown Rd Ste 15,     Mesa, AZ 85213-4216
15764540*        Pathology Specialists of Az,     1255 W Washington St,    Tempe, AZ 85281-1210
15764542*        Propath Services LLC,    1355 River Bend Dr,     Dallas, TX 75247-4915
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                                      Form ID: 318                       Total Noticed: 82


              ***** BYPASSED RECIPIENTS (continued) *****
15764543*          Psychiatry of Scottsdale,    8800 E Raintree Dr Ste 155,    Scottsdale, AZ 85260-3960
15764544*          Randall Hardison, M.D.,    2905 W Warner Rd Ste 19,    Chandler, AZ 85224-1674
15764545*          Resurgent,    Attn: Bankruptcy,    PO Box 10497,   Greenville, SC 29603-0497
15764546*          Resurgent Capital Services,     Attn: Bankruptcy,   PO Box 10497,   Greenville, SC 29603-0497
15764548*          Revsolve Inc,    1395 N Hayden Rd,    Scottsdale, AZ 85257-3769
15764550*          SMI Imaging LLC,    6900 E Camelback Rd Ste 700,    Scottsdale, AZ 85251-2400
15764554*          STAT CLINIX,    15223 N 87th St Ste 110,    Scottsdale, AZ 85260-2640
15764553*          Southwest Diagnostic Imaging,     2323 W Rose Garden Ln,   Phoenix, AZ 85027-2530
15764555*         +Sterling Jewelers, Inc.,    375 Ghent Rd,    Akron, OH 44333-4600
15764558*         +Tempe Municipal Court,    140 E 5th St,    Tempe, AZ 85281-3735
15764559*         +Tiffany & Bosco PA,    2525 E Camelback Rd Ste 700,    Phoenix, AZ 85016-9240
15764560*          Valley Collection Service,    PO Box 10130,    Glendale, AZ 85318-0130
                                                                                                 TOTALS: 1, * 47, ## 0

Addresses marked ’+’ were corrected by inserting the ZIP or replacing an incorrect ZIP.
USPS regulations require that automation-compatible mail display the correct ZIP.

Transmission times for electronic delivery are Eastern Time zone.

Addresses marked ’#’ were identified by the USPS National Change of Address system as requiring an update.
While the notice was still deliverable, the notice recipient was advised to update its address with the court
immediately.


I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities in the manner
shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and belief.
Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed. R. Bank. P. 2002(a)(1), a notice containing the complete Social
Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains the redacted SSN as required
by the bankruptcy rules and the Judiciary’s privacy policies.
Date: Jan 09, 2020                                            Signature: /s/Joseph Speetjens

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                                      CM/ECF NOTICE OF ELECTRONIC FILING

The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system on January 7, 2020 at the address(es) listed below:
              BENJAMIN ALLEN SKINNER   on behalf of Debtor JEFFREY DOUGLAS HUNT notices@taylorskinner.com,
               ben@taylorskinner.com
              BENJAMIN ALLEN SKINNER   on behalf of Joint Debtor MINDY JANE HUNT notices@taylorskinner.com,
               ben@taylorskinner.com
              LEONARD J. MCDONALD, JR.   on behalf of Creditor   AmeriHome Mortgage Company, LLC ecf@tblaw.com
              ROGER W. BROWN   rogerbrowntrustee@live.com, rwb@trustesolutions.net,rrwwbb@hotmail.com
              U.S. TRUSTEE   USTPRegion14.PX.ECF@USDOJ.GOV
                                                                                            TOTAL: 5




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                             Imaged Certificate of Notice Page 3 of 5
Information to identify the case:
Debtor 1              JEFFREY DOUGLAS HUNT                                        Social Security number or ITIN   xxx−xx−2974
                      First Name   Middle Name   Last Name                        EIN    45−5022806
Debtor 2              MINDY JANE HUNT                                             Social Security number or ITIN   xxx−xx−7925
(Spouse, if filing)
                      First Name   Middle Name   Last Name                        EIN    83−3160689
United States Bankruptcy Court District of Arizona

Case number: 2:19−bk−11453−MCW



Order of Discharge                                                                                                         12/15


IT IS ORDERED: A discharge under 11 U.S.C. § 727 is granted to:

           JEFFREY DOUGLAS HUNT                                          MINDY JANE HUNT
           dba JEFF HUNT BAND, LLC, dba TORNADIC,                        aka MINDY JANE RIVERA, dba HAND AND
           LLC, dba HUNT'S HOME INTERIORS AND                            HUNT, LLC
           DESIGN, LLC


           1/7/20                                                         By the court: Madeleine C. Wanslee
                                                                                        United States Bankruptcy Judge


Explanation of Bankruptcy Discharge in a Chapter 7 Case

This order does not close or dismiss the case,                           This order does not prevent debtors from paying
and it does not determine how much money, if                             any debt voluntarily or from paying reaffirmed
any, the trustee will pay creditors.                                     debts according to the reaffirmation agreement.
                                                                         11 U.S.C. § 524(c), (f).
Creditors cannot collect discharged debts
This order means that no one may make any                                Most debts are discharged
attempt to collect a discharged debt from the                            Most debts are covered by the discharge, but not
debtors personally. For example, creditors                               all. Generally, a discharge removes the debtors'
cannot sue, garnish wages, assert a deficiency,                          personal liability for debts owed before the
or otherwise try to collect from the debtors                             debtors' bankruptcy case was filed.
personally on discharged debts. Creditors cannot
contact the debtors by mail, phone, or otherwise                         Also, if this case began under a different chapter
in any attempt to collect the debt personally.                           of the Bankruptcy Code and was later converted
Creditors who violate this order can be required                         to chapter 7, debts owed before the conversion
to pay debtors damages and attorney's fees.                              are discharged.

However, a creditor with a lien may enforce a                            In a case involving community property: Special
claim against the debtors' property subject to that                      rules protect certain community property owned
lien unless the lien was avoided or eliminated.                          by the debtor's spouse, even if that spouse did
For example, a creditor may have the right to                            not file a bankruptcy case.
foreclose a home mortgage or repossess an
automobile.

                                                                                        For more information, see page 2 >




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Some debts are not discharged                             Also, debts covered by a valid reaffirmation
Examples of debts that are not discharged are:            agreement are not discharged.

     ♦ debts that are domestic support                    In addition, this discharge does not stop
       obligations;                                       creditors from collecting from anyone else who is
                                                          also liable on the debt, such as an insurance
                                                          company or a person who cosigned or
     ♦ debts for most student loans;                      guaranteed a loan.


     ♦ debts for most taxes;
                                                           This information is only a general summary
     ♦ debts that the bankruptcy court has                 of the bankruptcy discharge; some
       decided or will decide are not discharged           exceptions exist. Because the law is
       in this bankruptcy case;                            complicated, you should consult an
                                                           attorney to determine the exact effect of the
                                                           discharge in this case.
     ♦ debts for most fines, penalties,
       forfeitures, or criminal restitution
       obligations;

     ♦ some debts which the debtors did not
       properly list;


     ♦ debts for certain types of loans owed to
       pension, profit sharing, stock bonus, or
       retirement plans; and


     ♦ debts for death or personal injury caused
       by operating a vehicle while intoxicated.




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